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                                  SECOND AMENDED AND RESTATED
                                   SHARED SERVICES AGREEMENT

           THIS SECOND AMENDED AND RESTATED SHARED SERVICES AGREEMENT (this
   “Agreement”) is entered into to be effective as of 8th day of February, 2013 (the “Effective Date”) by and
   among Highland Capital Management, L.P., a Delaware limited partnership (“HCMLP”), and Highland
   Capital Management Fund Advisors, L.P., formerly known as Pyxis Capital, L.P., a Delaware limited
   partnership (“HCMFA”), and any affiliate of HCMFA that becomes a party hereto. Each of the
   signatories hereto is individually a “Party” and collectively the “Parties”.

                                                  RECITALS

           A.      During the Term, HCMLP will provide to HCMFA certain services as more fully
   described herein and the Parties desire to allocate the costs incurred for such services and assets among
   them in accordance with the terms and conditions in this Agreement.

                                                AGREEMENT

            In consideration of the foregoing recitals and the mutual covenants and conditions contained
   herein, the Parties agree, intending to be legally bound, as follows:

                                                 ARTICLE I
                                                DEFINITIONS

           “Actual Cost” means, with respect to any period hereunder, one hundred percent (100%) of the
   actual costs and expenses caused by, incurred or otherwise arising from or relating to (i) the Shared
   Services and (ii) the Shared Assets, in each case during such period.

           “Affiliate” means a Person that directly, or indirectly through one or more intermediaries,
   controls, or is controlled by, or is under common control with, a specified Person. The term “control”
   (including, with correlative meanings, the terms “controlled by” and “under common control with”)
   means the possession of the power to direct the management and policies of the referenced Person,
   whether through ownership interests, by contract or otherwise.

           “Agreement” has the meaning set forth in the preamble.

           “Allocation Percentage” has the meaning set forth in Section 4.01.

           “Applicable Margin” shall mean an additional amount equal to 5% of all costs allocated by
   Service Provider to the other parties hereto under Article IV; provided that the parties may agree on a
   different margin percentage as to any item or items to the extent the above margin percentage, together
   with the allocated cost of such item or service, would not reflect an arm’s length value of the particular
   service or item allocated.

           “Change” has the meaning set forth in Section 2.02(a).

           “Change Request” has the meaning set forth in Section 2.02(b).

           “Code” means the Internal Revenue Code of 1986, as amended, and the related regulations and
   published interpretations.
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           “Effective Date” has the meaning set forth in the preamble.

          “Governmental Entity” means any government or any regulatory agency, bureau, board,
   commission, court, department, official, political subdivision, tribunal or other instrumentality of any
   government, whether federal, state or local, domestic or foreign.

            “Liabilities” means any cost, liability, indebtedness, obligation, co-obligation, commitment,
   expense, claim, deficiency, guaranty or endorsement of or by any Person of any nature (whether direct or
   indirect, known or unknown, absolute or contingent, liquidated or unliquidated, due or to become due,
   accrued or unaccrued, matured or unmatured).

           “Loss” means any cost, damage, disbursement, expense, liability, loss, obligation, penalty or
   settlement, including interest or other carrying costs, legal, accounting and other professional fees and
   expenses incurred in the investigation, collection, prosecution and defense of claims and amounts paid in
   settlement, that may be imposed on or otherwise incurred or suffered by the referenced Person; provided,
   however, that the term “Loss” will not be deemed to include any special, exemplary or punitive damages,
   except to the extent such damages are incurred as a result of third party claims.

           “New Shared Service” has the meaning set forth in Section 2.03.

           “Party” or “Parties” has the meaning set forth in the preamble.

         “Person” means an association, a corporation, an individual, a partnership, a limited liability
   company, a trust or any other entity or organization, including a Governmental Entity.

           “Quarterly Report” has the meaning set forth in Section 5.01.

           “Recipient” means HCMFA and any of HCMFA’s direct or indirect Subsidiaries or managed
   funds or accounts in their capacity as a recipient of the Shared Services and/or Shared Assets.

           “Service Provider” means any of HCMLP and its direct or indirect Subsidiaries in its capacity as
   a provider of Shared Services or Shared Assets.

           “Service Standards” has the meaning set forth in Section 6.01.

           “Shared Assets” shall have the meaning set forth in Section 3.02.

           “Shared Services” shall have the meaning set forth in Section 2.01.

            “Subsidiary” means, with respect to any Person, any Person in which such Person has a direct or
   indirect equity ownership interest in excess of 50%.

            “Tax” or “Taxes” means: (i) all state and local sales, use, value-added, gross receipts, foreign,
   privilege, utility, infrastructure maintenance, property, federal excise and similar levies, duties and other
   similar tax-like charges lawfully levied by a duly constituted taxing authority against or upon the Shared
   Services and the Shared Assets; and (ii) tax-related surcharges or fees that are related to the Shared
   Services and the Shared Assets identified and authorized by applicable tariffs.

           “Term” has the meaning set forth in Section 7.01.




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                                                ARTICLE II
                                             SHARED SERVICES

           Section 2.01     Services. During the Term, Service Provider will provide Recipient with Shared
   Services, including without limitation, all of the (i) finance and accounting services, (ii) human resources
   services, (iii) marketing services, (iv) legal services, (v) corporate services, (vi) information technology
   services, and (vii) operations services; each as requested by HCMFA and as described more fully on
   Annex A attached hereto, the “Shared Services”), it being understood that personnel providing Shared
   Services may be deemed to be employees of HCMFA to the extent necessary for purposes of the
   Investment Advisers Act of 1940, as amended.

           Section 2.02    Changes to the Shared Services.

                   (a)      During the Term, the Parties may agree to modify the terms and conditions of a
   Service Provider’s performance of any Shared Service in order to reflect new procedures, processes or
   other methods of providing such Shared Service, including modifying the applicable fees for such Shared
   Service to reflect the then current fair market value of such service (a “Change”). The Parties will
   negotiate in good faith the terms upon which a Service Provider would be willing to provide such New
   Shared Service to Recipient.

                    (b)      The Party requesting a Change will deliver a description of the Change requested
   (a “Change Request”) and no Party receiving a Change Request may unreasonably withhold, condition or
   delay its consent to the proposed Change.

                    (c)      Notwithstanding any provision of this Agreement to the contrary, a Service
   Provider may make: (i) Changes to the process of performing a particular Shared Service that do not
   adversely affect the benefits to Recipient of Service Provider’s provision or quality of such Shared
   Service in any material respect or increase Recipient’s cost for such Shared Service; (ii) emergency
   Changes on a temporary and short-term basis; and/or (iii) Changes to a particular Shared Service in order
   to comply with applicable law or regulatory requirements, in each case without obtaining the prior
   consent of Recipient. A Service Provider will notify Recipient in writing of any such Change as follows:
   in the case of clauses (i) and (iii) above, prior to the implementation of such Change, and, in the case of
   clause (ii) above, as soon as reasonably practicable thereafter.

           Section 2.03   New Shared Services. The Parties may, from time to time during the Term of
   this Agreement, negotiate in good faith for Shared Services not otherwise specifically listed in Section
   2.01 (a “New Shared Service”). Any agreement between the Parties on the terms for a New Shared
   Service must be in accordance with the provisions of Article IV and Article V hereof, will be deemed to
   be an amendment to this Agreement and such New Shared Service will then be a “Shared Service” for all
   purposes of this Agreement.

           Section 2.04   Subcontractors. Nothing in this Agreement will prevent Service Provider from,
   with the consent of Recipient, using subcontractors, hired with due care, to perform all or any part of a
   Shared Service hereunder. A Service Provider will remain fully responsible for the performance of its
   obligations under this Agreement in accordance with its terms, including any obligations it performs
   through subcontractors, and a Service Provider will be solely responsible for payments due to its
   subcontractors.




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                                                 ARTICLE III
                                               SHARED ASSETS

            Section 3.01    Shared IP Rights. Each Service Provider hereby grants to Recipient a non-
   exclusive right and license to use the intellectual property and other rights granted or licensed, directly or
   indirectly, to such Service Provider (the “Shared IP Rights”) pursuant to third party intellectual property
   Agreements (“Third Party IP Agreements”), provided that the rights granted to Recipient hereunder are
   subject to the terms and conditions of the applicable Third Party IP Agreement, and that such rights shall
   terminate, as applicable, upon the expiration or termination of the applicable Third Party IP Agreement.
   Recipient shall be licensed to use the Shared IP Rights only for so long as it remains an Affiliate of
   HCMLP. In consideration of the foregoing licenses, Recipient agrees to take such further reasonable
   actions as a Service Provider deems to be necessary or desirable to comply with its obligations under the
   Third Party IP Agreements.

           Section 3.02     Other Shared Assets. Subject to Section 3.01, each Service Provider hereby
   grants Recipient the right, license or permission, as applicable, to use and access the benefits under the
   agreements, contracts and licenses that such Service Provider will purchase, acquire, become a party or
   beneficiary to or license on behalf of Recipient (the “Future Shared Assets” and collectively with the
   Shared IP Rights, the “Shared Assets”).

                                                 ARTICLE IV
                                              COST ALLOCATION

           Section 4.01   Actual Cost Allocation Formula. The Actual Cost of any item relating to any
   Shared Services or Shared Assets shall be allocated based on the Allocation Percentage. For purposes of
   this Agreement, “Allocation Percentage” means:

                   (a)      To the extent 100% of such item is demonstrably attributable to HCMFA, 100%
   of the Actual Cost of such item shall be allocated to HCMFA as agreed by HCMFA;

                  (b)    To the extent a specific percentage of use of such item can be determined (e.g.,
   70% for HCMLP and 30% for HCMFA), that specific percentage of the Actual Cost of such item will be
   allocated to HCMLP or HCMFA, as applicable and as agreed by HCMFA; and

                   (c)      All other portions of the Actual Cost of any item that cannot be allocated
   pursuant to clause (a) or (b) above shall be allocated between HCMLP and HCMFA in such proportion as
   is agreed in good faith between the parties.

           Section 4.02     Non-Cash Cost Allocation. The actual, fully burdened cost of any item relating
   to any Shared Services or Shared Assets that does not result in a direct, out of pocket cash expense may
   be allocated to HCMLP and HCMFA for financial statement purposes only, as agreed by HCMFA,
   without any corresponding cash reimbursement required, in accordance with generally accepted
   accounting principles, based on the Allocation Percentage principles described in Section 4.01 hereof.

                                           ARTICLE V
                           PAYMENT OF COST AND REVENUE SHARE; TAXES

           Section 5.01     Quarterly Statements. Within thirty (30) days following the end of each calendar
   qaurter during the Term (or at such time as may be otherwise agreed by the parties), each Service
   Provider shall furnish the other Parties hereto with a written statement with respect to the Actual Cost
   paid by it in respect of Shared Services and Shared Assets provided by it, in each case, during such


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   period, setting forth (i) the cost allocation in accordance with Article IV hereof together with the
   Applicable Margin on such allocated amounts, and (ii) any amounts paid pursuant to Section 5.02 hereof,
   together with such other data and information necessary to complete the items described in Section 5.03
   hereof (hereinafter referred to as the “Quarterly Report”).

            Section 5.02    Settlement Payments. At any time during the Term, any Party may make
   payment of the amounts that are allocable to such Party together with the Applicable Margin related
   thereto, regardless of whether an invoice pursuant to Section 5.03 hereof has been issued with respect to
   such amounts.

           Section 5.03    Determination and Payment of Cost and Revenue Share.

                    (a)     Within ten (10) days of the submission of the Quarterly Report described in
   Section 5.02 hereof (or at such other time as may be agreed by the parties), the Parties shall (i) agree on
   the cost share of each of the Parties and Applicable Margin as calculated pursuant to the provisions of this
   Agreement; and (ii) prepare and issue invoices for the cost share and Applicable Margin payments that
   are payable by any of the Parties.

                    (b)     Within ten (10) days of preparation of the agreement and the issuance of the
   invoice described in Section 5.03(a) (or at such other time as may be agreed by the parties), the Parties
   shall promptly make payment of the amounts that are set forth on such cost allocation invoice.
   Notwithstanding anything in this Agreement to the contrary, provision of the Shared Services shall
   commence from the Effective Date, but no fees shall be payable from Recipient or otherwise accrue with
   respect to such services provided during the month of December 2011.

           Section 5.04    Taxes.

                    (a)     Recipient is responsible for and will pay all Taxes applicable to the Shared
   Services and the Shared Assets provided to Recipient, provided, that such payments by Recipient to
   Service Provider will be made in the most tax-efficient manner and provided further, that Service
   Provider will not be subject to any liability for Taxes applicable to the Shared Services and the Shared
   Assets as a result of such payment by Recipient. Service Provider will collect such Tax from Recipient in
   the same manner it collects such Taxes from other customers in the ordinary course of Service Provider’s
   business, but in no event prior to the time it invoices Recipient for the Shared Services and Shared Assets,
   costs for which such Taxes are levied. Recipient may provide Service Provider with a certificate
   evidencing its exemption from payment of or liability for such Taxes.

                    (b)    Service Provider will reimburse Recipient for any Taxes collected from Recipient
   and refunded to Service Provider. In the event a Tax is assessed against Service Provider that is solely the
   responsibility of Recipient and Recipient desires to protest such assessment, Recipient will submit to
   Service Provider a statement of the issues and arguments requesting that Service Provider grant Recipient
   the authority to prosecute the protest in Service Provider’s name. Service Provider’s authorization will
   not be unreasonably withheld. Recipient will finance, manage, control and determine the strategy for
   such protest while keeping Service Provider reasonably informed of the proceedings. However, the
   authorization will be periodically reviewed by Service Provider to determine any adverse impact on
   Service Provider, and Service Provider will have the right to reasonably withdraw such authority at any
   time. Upon notice by Service Provider that it is so withdrawing such authority, Recipient will
   expeditiously terminate all proceedings. Any adverse consequences suffered by Recipient as a result of
   the withdrawal will be submitted to arbitration pursuant to Section 9.14. Any contest for Taxes brought
   by Recipient may not result in any lien attaching to any property or rights of Service Provider or
   otherwise jeopardize Service Provider’s interests or rights in any of its property. Recipient agrees to


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   indemnify Service Provider for all Losses that Service Provider incurs as a result of any such contest by
   Recipient.

                     (c)     The provisions of this Section 5.04 will govern the treatment of all Taxes arising
   as a result of or in connection with this Agreement notwithstanding any other Article of this Agreement to
   the contrary.

                                            ARTICLE VI
                                 SERVICE PROVIDER RESPONSIBILITIES

           Section 6.01    Service Provider General Obligations. Service Provider will provide the Shared
   Services and the Shared Assets to Recipient on a non-discriminatory basis and will provide the Shared
   Services and the Shared Assets in the same manner as if it were providing such services and assets on its
   own account (the “Service Standards”). Service Provider will conduct its duties hereunder in a lawful
   manner in compliance with applicable laws, statutes, rules and regulations and in accordance with the
   Service Standards, including, for avoidance of doubt, laws and regulations relating to privacy of customer
   information.

            Section 6.02    Books and Records; Access to Information. Service Provider will keep and
   maintain books and records on behalf of Recipient in accordance with past practices and internal control
   procedures. Recipient will have the right, at any time and from time to time upon reasonable prior notice
   to Service Provider, to inspect and copy (at its expense) during normal business hours at the offices of
   Service Provider the books and records relating to the Shared Services and Shared Assets, with respect to
   Service Provider’s performance of its obligations hereunder. This inspection right will include the ability
   of Recipient’s financial auditors to review such books and records in the ordinary course of performing
   standard financial auditing services for Recipient (but subject to Service Provider imposing reasonable
   access restrictions to Service Provider’s and its Affiliates’ proprietary information and such financial
   auditors executing appropriate confidentiality agreements reasonably acceptable to Service Provider).
   Service Provider will promptly respond to any reasonable requests for information or access. For the
   avoidance of doubt, all books and records kept and maintained by Service Provider on behalf of Recipient
   shall be the property of Recipient, and Service Provider will surrender promptly to Recipient any of such
   books or records upon Recipient’s request (provided that Service Provider may retain a copy of such
   books or records) and shall make all such books and records available for inspection and use by the
   Securities and Exchange Commission or any person retained by Recipient at all reasonable times. Such
   records shall be maintained by Service Provider for the periods and in the places required by laws and
   regulations applicable to Recipient.

           Section 6.03  Return of Property and Equipment. Upon expiration or termination of this
   Agreement, Service Provider will be obligated to return to Recipient, as soon as is reasonably practicable,
   any equipment or other property or materials of Recipient that is in Service Provider’s control or
   possession.

                                              ARTICLE VII
                                         TERM AND TERMINATION

           Section 7.01      Term. The term of this Agreement will commence as of the Effective Date and
   will continue in full force and effect until the first anniversary of the Effective Date (the “Term”), unless
   terminated earlier in accordance with Section 9.02. The Term shall automatically renew for successive
   one year periods unless sooner terminated under Section 7.02.




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           Section 7.02    Termination. Either Party may terminate this Agreement, with or without cause,
   upon at least 60 days advance written notice at any time prior to the expiration of the Term.

                                               ARTICLE VIII
                                            LIMITED WARRANTY

            Section 8.01    Limited Warranty. Service Provider will perform the Shared Services hereunder
   in accordance with the Service Standards. Except as specifically provided in this Agreement, Service
   Provider makes no express or implied representations, warranties or guarantees relating to its performance
   of the Shared Services and the granting of the Shared Assets under this Agreement, including any
   warranty of merchantability, fitness, quality, non-infringement of third party rights, suitability or
   adequacy of the Shared Services and the Shared Assets for any purpose or use or purpose. Service
   Provider will (to the extent possible and subject to Service Provider’s contractual obligations) pass
   through the benefits of any express warranties received from third parties relating to any Shared Service
   and Shared Asset, and will (at Recipient’s expense) assist Recipient with any warranty claims related
   thereto.

                                            ARTICLE IX
                                          MISCELLANEOUS

            Section 9.01    No Partnership or Joint Venture; Independent Contractor. Nothing contained in
   this Agreement will constitute or be construed to be or create a partnership or joint venture between or
   among HCMLP or HCMFA or their respective successors or assigns. The Parties understand and agree
   that, with the exception of the procurement by Service Provider of licenses or other rights on behalf of
   Recipient pursuant to Section 3.01, this Agreement does not make any of them an agent or legal
   representative of the other for any purpose whatsoever. With the exception of the procurement by Service
   Provider of licenses or other rights on behalf of Recipient pursuant to Section 3.01, no Party is granted, by
   this Agreement or otherwise, any right or authority to assume or create any obligation or responsibilities,
   express or implied, on behalf of or in the name of any other Party, or to bind any other Party in any
   manner whatsoever. The Parties expressly acknowledge that Service Provider is an independent
   contractor with respect to Recipient in all respects, including with respect to the provision of the Shared
   Services.

           Section 9.02     Amendments; Waivers. Except as expressly provided herein, this Agreement
   may be amended only by agreement in writing of all Parties. No waiver of any provision nor consent to
   any exception to the terms of this Agreement or any agreement contemplated hereby will be effective
   unless in writing and signed by all of the Parties affected and then only to the specific purpose, extent and
   instance so provided. No failure on the part of any Party to exercise or delay in exercising any right
   hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any further or
   other exercise of such or any other right.

           Section 9.03    Schedules and Exhibits; Integration. Each Schedule and Exhibit delivered
   pursuant to the terms of this Agreement must be in writing and will constitute a part of this Agreement,
   although schedules need not be attached to each copy of this Agreement. This Agreement, together with
   such Schedules and Exhibits constitutes the entire agreement among the Parties pertaining to the subject
   matter hereof and supersedes all prior agreements and understandings of the Parties in connection
   therewith.

          Section 9.04     Further Assurances. Each Party will take such actions as any other Party may
   reasonably request or as may be necessary or appropriate to consummate or implement the transactions
   contemplated by this Agreement or to evidence such events or matters.


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           Section 9.05   Governing Law. This Agreement and the legal relations between the Parties will
   be governed by and construed in accordance with the laws of the State of Texas applicable to contracts
   made and performed in such State and without regard to conflicts of law doctrines unless certain matters
   are preempted by federal law.

           Section 9.06     Assignment. Except as otherwise provided hereunder, neither this Agreement
   nor any rights or obligations hereunder are assignable by one Party without the express prior written
   consent of the other Parties.

           Section 9.07    Headings. The descriptive headings of the Articles, Sections and subsections of
   this Agreement are for convenience only and do not constitute a part of this Agreement.

            Section 9.08    Counterparts. This Agreement and any amendment hereto or any other
   agreement delivered pursuant hereto may be executed in one or more counterparts and by different Parties
   in separate counterparts. All counterparts will constitute one and the same agreement and will become
   effective when one or more counterparts have been signed by each Party and delivered to the other
   Parties.

            Section 9.09    Successors and Assigns; No Third Party Beneficiaries. This Agreement is
   binding upon and will inure to the benefit of each Party and its successors or assigns, and nothing in this
   Agreement, express or implied, is intended to confer upon any other Person or Governmental Entity any
   rights or remedies of any nature whatsoever under or by reason of this Agreement.

           Section 9.10     Notices. All notices, demands and other communications to be given or
   delivered under or by reason of the provisions of this Agreement will be in writing and will be deemed to
   have been given: (i)immediately when personally delivered; (ii) when received by first class mail, return
   receipt requested; (iii) one day after being sent for overnight delivery by Federal Express or other
   overnight delivery service; or (iv) when receipt is acknowledged, either electronically or otherwise, if sent
   by facsimile, telecopy or other electronic transmission device. Notices, demands and communications to
   the other Parties will, unless another address is specified by such Parties in writing, be sent to the
   addresses indicated below:

                            If to HCMLP, addressed to:

                            Highland Capital Management, L.P.
                            300 Crescent Court, Suite 700
                            Dallas, Texas 75201
                            Attention: General Counsel
                            Fax: (972) 628-4147

                            If to HCMFA, addressed to:

                            Highland Capital Management Fund Advisors, L.P.
                            300 Crescent Court, Suite 700
                            Dallas, Texas 75201
                            Attention: General Counsel
                            Fax: (972) 628-4147

           Section 9.11    Expenses. Except as otherwise provided herein, the Parties will each pay their
   own expenses incident to the negotiation, preparation and performance of this Agreement, including the
   fees, expenses and disbursements of their respective investment bankers, accountants and counsel.


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           Section 9.12     Waiver. No failure on the part of any Party to exercise or delay in exercising any
  right hereunder will be deemed a waiver thereof, nor will any single or partial exercise preclude any
  further or other exercise of such or any other right.

          Section 9.13     Severability. If any provision of this Agreement is held to be unenforceable for
  any reason, it will be adjusted rather than voided, if possible, to achieve the intent of the Parties. All
  other provisions of this Agreement will be deemed valid and enforceable to the extent possible.

           Section 9.14     Arbitration; Jurisdiction. Notwithstanding anything contained in this Agreement
  or the Annexes hereto to the contrary, in the event there is an unresolved legal dispute between the parties
  and/or any of their respective officers, directors, partners, employees, agents, affiliates or other
  representatives that involves legal rights or remedies arising from this Agreement, the parties agree to
  submit their dispute to binding arbitration under the authority of the Federal Arbitration Act; provided,
  however, that either party or such applicable affiliate thereof may pursue a temporary restraining order
  and/or preliminary injunctive relief in connection with confidentiality covenants or agreements binding
  on the other party, with related expedited discovery for the parties, in a court of law, and, thereafter,
  require arbitration of all issues of final relief. The Arbitration will be conducted by the American
  Arbitration Association, or another, mutually agreeable arbitration service. The arbitrator(s) shall be duly
  licensed to practice law in the State of Texas. The discovery process shall be limited to the following:
  Each side shall be permitted no more than (i) two party depositions of six hours each. Each deposition is
  to be taken pursuant to the Texas Rules of Civil Procedure; (ii) one non-party deposition of six hours; (iii)
  twenty-five interrogatories; (iv) twenty-five requests for admission; (v) ten requests for production. In
  response, the producing party shall not be obligated to produce in excess of 5,000 total pages of
  documents. The total pages of documents shall include electronic documents; (vi) one request for
  disclosure pursuant to the Texas Rules of Civil Procedure. Any discovery not specifically provided for in
  this paragraph, whether to parties or non-parties, shall not be permitted. The arbitrator(s) shall be
  required to state in a written opinion all facts and conclusions of law relied upon to support any decision
  rendered. No arbitrator will have authority to render a decision that contains an outcome determinative
  error of state or federal law, or to fashion a cause of action or remedy not otherwise provided for under
  applicable state or federal law. Any dispute over whether the arbitrator(s) has failed to comply with the
  foregoing will be resolved by summary judgment in a court of law. In all other respects, the arbitration
  process will be conducted in accordance with the American Arbitration Association’s dispute resolution
  rules or other mutually agreeable, arbitration service rules. The party initiating arbitration shall pay all
  arbitration costs and arbitrator’s fees, subject to a final arbitration award on who should bear costs and
  fees. All proceedings shall be conducted in Dallas, Texas, or another mutually agreeable site. Each party
  shall bear its own attorneys fees, costs and expenses, including any costs of experts, witnesses and/or
  travel, subject to a final arbitration award on who should bear costs and fees. The duty to arbitrate
  described above shall survive the termination of this Agreement. Except as otherwise provided above, the
  parties hereby waive trial in a court of law or by jury. All other rights, remedies, statutes of limitation and
  defenses applicable to claims asserted in a court of law will apply in the arbitration.

          Section 9.15     General Rules of Construction. For all purposes of this Agreement and the
  Exhibits and Schedules delivered pursuant to this Agreement: (i) the terms defined in Article I have the
  meanings assigned to them in Article I and include the plural as well as the singular; (ii) all accounting
  terms not otherwise defined herein have the meanings assigned under GAAP; (iii) all references in this
  Agreement to designated “Articles,” “Sections” and other subdivisions are to the designated Articles,
  Sections and other subdivisions of the body of this Agreement; (iv) pronouns of either gender or neuter
  will include, as appropriate, the other pronoun forms; (v) the words “herein,”“hereof” and “hereunder”
  and other words of similar import refer to this Agreement as a whole and not to any particular Article,
  Section or other subdivision; (vi) “or” is not exclusive; (vii) “including” and “includes” will be deemed to
  be followed by “but not limited to” and “but is not limited to, “respectively; (viii) any definition of or

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  reference to any law, agreement, instrument or other document herein will be construed as referring to
  such law, agreement, instrument or other document as from time to time amended, supplemented or
  otherwise modified; and (ix) any definition of or reference to any statute will be construed as referring
  also to any rules and regulations promulgated thereunder.




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                                                      Annex A

                                                Shared Services

            Compliance
                          General compliance
                          Compliance systems
            Facilities
                          Equipment
                          General Overhead
                          Office Supplies
                          Rent & Parking
            Finance & Accounting
                         Book keeping
                          Cash management
                          Cash forecasting
                          Credit facility reporting
                          Financial reporting
                          Accounts payable
                          Accounts receivable
                          Expense reimbursement
                          Vendor management
            HR
                          Drinks/snacks
                          Lunches
                          Recruiting
            IT
                          General support & maintenance (OMS, development, support)
                          Telecom (cell, phones, broadband)
                          WSO
            Legal
                          Corporate secretarial services
                          Document review and preparation
                          Litigation support
                          Management of outside counsel
            Marketing and PR
                          Public relations
            Tax
                          Tax audit support
                          Tax planning
                          Tax prep and filing
            Investments
                          Investment research on an ad hoc basis as requested by HCMFA
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                         Valuation Committee
            Trading
                         Trading desk services
            Operations
                         Trade settlement




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